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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.2
                                Eastern Division

The Terraces Condominium Association
                                              Plaintiff,
v.                                                          Case No.: 1:19−cv−06028
                                                            Honorable John Robert Blakey
Insurance Company of Greater New York
                                              Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, April 29, 2020:


       MINUTE entry before the Honorable John Robert Blakey: Pursuant to Third
Amended General Order 20−0012, the final discovery status hearing previously set for
5/26/20 is hereby stricken. The case is set for a status hearing on 7/16/20 at 9:45 a.m. in
Courtroom 1203. The parties shall file their joint status report by 7/1/20. Mailed
notice(gel, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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